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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MICHAEL CONWAY                                      )
                                                     )
     Plaintiff,                                      )
                                                     )
     v.                                              ) Case Number:
                                                     )
 CITY OF CHICAGO, COSTAS SIMOS                       )
 (in his official and personal capacities),          )
                                                     )
 and ERIN O’DONNELL-RUSSELL
                                                     )
 (in her official and personal capacities)
                                                     )
                                                     )
     Defendants


                            COMPLAINT WITH JURY DEMAND

                                       NATURE OF ACTION

1.     This is a civil-rights action brought under 42 U.S.C. §§ 1983 and 1985(3) for violations

of the First and Fourteenth Amendments, as well as under state laws prohibiting retaliation

against workers who report or complain about unsafe conditions or about wrongful actions or

practices in which their employers have engaged. Plaintiff Michael Conway, an Airport

Operations Supervisor II (“AOS II”) with Chicago’s Midway International Airport (“MDW” or

“the Airport”), experienced severe and ongoing retaliation after initially refusing an order by

deputy commissioner Defendant Costas Simos (the “No. 2 official at Midway Airport”) to lie

about poor airfield conditions, and for reporting Simos’s illegal order to Chicago’s Department

of Human Resources, to its Office of Inspector General (“OIG”), and to the Federal Aviation

Administration (“FAA”).

2.     Simos’s dangerous order, which was issued at the behest of Southwest Airlines out of a

“financial motivation” and endorsed by managing deputy commissioner Defendant Erin



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O’Donnell-Russell, instructed Conway to report airfield conditions as “dry” when they were in

fact “wet” (implicitly authorizing certain heavily laden aircraft to land, contrary to FAA

regulations) and thus placed the travelling public at risk.

3.     The retaliation Conway experienced included removal of nearly all work responsibilities,

suspension of privileges and security clearances, denial of step and cost-of-living increases and

of promotion and overtime opportunities, and near-total, management-sanctioned ostracism.

4.     Both OIG and FAA conducted investigations. OIG’s investigation, whose results were

reported in July 2020, “established that a CDA [Chicago Department of Aviation] deputy

commissioner at Midway International Airport [Defendant Simos] disregarded crucial federal

safety protocols and the City’s Personnel Rules … following a call from a private airline

requesting that the airfield conditions be changed due to financial motivation.”

5.     According to the OIG report, Simos “acknowledged that the airline [Southwest Airlines]

official had a financial motivation for requesting the change in status [of the airfield conditions],

because the airline could not include as many passengers on planes landing on a wet airfield at

MDW as are permitted for dry conditions, and the airline would therefore lose money if the

airfield conditions were not altered.”

6.     The report also concluded that Simos “lied to OIG by falsely claiming to have verified

the airfield conditions” when he was not even on-site and phone records proved that he spoke to

no other operations personnel. OIG “recommended [Simos’s] discharge and placement on

DHR’s [Department of Human Resources] ineligible for rehire list.”

7.     The FAA’s investigation, which was completed in or around November 2019,

“substantiated that a violation of an order, regulation or standard of the FAA related to air carrier

safety occurred.” It also concluded that the Airport had been untruthful with the FAA during its




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investigation. The FAA announced that, as a sanction, “MDW airport will continue to be on a

heightened level of FAA surveillance inspection oversight to ensure compliance with airport

condition assessment and reporting.”

8.     The FAA was particularly concerned with the Airport’s culture of intimidation and

retaliation, noting its “potential negative effect on safety.” It observed that “the vast majority of

employees the FAA interviewed requested anonymity out of a fear of retaliation.” And it was

significant that “the CDA employee who originally contacted the FAA [i.e., Conway] felt it was

necessary to raise the underlying concerns with the FAA only and not also with MDW

management.” “Employees,” the FAA admonished, “must always have an opportunity to convey

safety concerns without fear of retaliation.”

9.     The actions Conway reported constituted violations of 14 C.F.R. 139.339(c)(3) and

demonstrated the Airport’s failure to competently discharge its responsibility to the traveling

public to maintain safe conditions at the Airport.

10.    The Airport’s retaliation against Conway—which began within days of his having first

refused Simos’s order and continued unabated for more than two years—included removal of

certain security clearances, being stripped of all previous job duties and responsibilities,

management edicts to fellow workers not to speak or interact with Conway, assigning Conway

menial and pointless “makework,” removal of Conway from the overtime rotation, denial of

promotion opportunities, and reversal of scheduled step and cost-of-living increases in

compensation, all of which has caused extreme mental distress, humiliation, and irreparable

damage to Conway’s professional and personal reputation, as well as substantial financial loss.

11.    In 2018, Conway also filed a complaint with the Occupational Health and Safety

Administration (“OSHA”), which is currently investigating the Airport’s actions as potential




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violations of the anti-retaliation provisions of the Wendell H. Ford Aviation Investment and

Reform Act for the 21st Century (“Air 21”), 49 U.S.C. § 42121.

                                              PARTIES

12.      Plaintiff Michael Conway lives in Chicago and is a current employee of the City of

Chicago Department of Aviation, a self-supported City department responsible for operating,

among other facilities, O’Hare and Midway International Airports. Conway’s formal title is

Airport Operations Supervisor II (“AOS II”). Until his de facto demotion in 2018, Conway

capably and diligently performed the various functions and duties of that position, including

monitoring and reporting runway conditions at the Airport in compliance with Title 14, Part 139

of the Code of Federal Regulations.

13.      Conway has since been relieved of all such responsibilities and, since late 2018, has

received only menial “make-work” assignments such as counting cars in the Airport’s parking

lots.

14.      Defendant City of Chicago is a municipality located in Cook County, Illinois. Its

government comprises numerous departments, including the Department of Aviation. The City

employs or formerly employed the individual Defendants and is directly and/or vicariously liable

for their acts and omissions performed under its customs, policies, or practices.

15.      Until his “resignation” in April 2020, Defendant Costas Simos was a deputy

commissioner of the Department of Aviation and, as characterized by the Chicago Sun Times

and other news sources, the “No. 2 official at Midway Airport.” Both individually and in concert

with other Defendants, Simos instigated, oversaw, encouraged, tolerated, and/or failed to prevent

or abate many of the retaliatory acts described in this Complaint, and/or has responded to such

acts and omissions and to Conway’s complaints so inadequately as to manifest indifference or




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unreasonableness under the circumstances. He is sued in both his official and personal capacities.

16.    Defendant Erin O’Donnell-Russell (“O’Donnell”) was Midway’s managing deputy

commissioner until her “resignation” in July 2019. Both individually and in concert with other

Defendants, O’Donnell committed, encouraged, tolerated, and/or failed to prevent or abate

various retaliatory acts and omissions against Conway, and/or has responded to such acts and

omissions and to Conway’s complaints so inadequately as to manifest indifference or

unreasonableness under the circumstances. She is sued in both her official and personal

capacities.

                                     JURISDICTION AND VENUE

17.    This Court has jurisdiction over this matter under 28 U.S.C. § 1331, as this controversy

arises under the Constitution and laws of the United States. Venue is appropriate in this district

under 28 U.S.C. § 1391, as all acts and omissions complained of occurred in this district;

Plaintiff Michael Conway resides in this district; and all Defendants reside in this district or did

so reside at the time such acts and omissions occurred.

                                               FACTS

  As an Airport Operations Supervisor II, Conway is responsible for, among other things,
                   accurately reporting airfield conditions at Midway.

18.    Conway has been employed by the City’s Department of Aviation since December 1995

and, since 1998, has served as an Airport Operations Supervisor II.

19.    In this capacity, Conway is responsible, according to the official AOS II job description,

for “inspect[ing] airfield and airside facilities for overall operational safety [and] ensuring

compliance with operational safety and security standards relating to airport operations under 14

CFR Part 139 administered by the Federal Aviation Administration …”

20.    Among the “essential duties” of Conway’s position, according to the job description, are



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to “[v]isually inspect[ ] the condition and maintenance of airfield facilities and surrounding

perimeter (e.g., runways, taxiways, ramps, safety areas) to ensure surfaces are free of safety

hazards, obstructions and debris and in good physical condition,” to “[p]repare documentation

and reports of airfield inspections, findings and irregularities and maintain[ ] daily log of

activities / operations logs,” to “[i]ssue[ ] and cancel[ ] Notice to Airman (NOTAMS) to provide

current information on aviation and airfield conditions including the opening and closing of

runways to FAA air traffic control,” and to “[m]onitor weather service reports, check surface

conditions and temperatures and advise city personnel, contractors and other aviation personnel

of weather conditions.”

21.    Neither Conway’s official job description nor the duties he customarily performs involve

his reporting to or otherwise communicating with the FAA, OIG, or other regulatory authorities

about management improprieties, irregularities, violations, or illegal conduct.

                Defendant Simos orders Conway to falsify airfield conditions.

22.    On the morning of February 12, 2018, while at home, Conway became aware through

news media reports that Southwest Airlines (one of the air carriers under contract with, and a

frequent user of, Midway Airport) had the previous day completely exhausted its supply of

aircraft de-icing compound.

23.    At approximately 8:00 a.m. that day, Conway’s general manager, David Kaufman, texted

Conway about the situation, advising that Southwest Airlines had decided to cancel 98% of its

flights out of the Airport after 1:00 p.m. that day.

24.    On Saturday, February 17, 2018, between the hours of approximately 10:00 a.m. and

11:30 a.m., Conway observed Southwest Airlines heavily de-icing at various gate positions.

Runway 22L was in use.




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25.    As duty supervisor that morning, Conway received a phone call on a recorded line from

Defendant Costas Simos, an Airport deputy commissioner, inquiring about the condition of the

runways. Conway advised Simos that the field was “Clear/Wet.”

26.    Simos then instructed Conway to change the condition on the FAA Digital NOTAM

system to “Clear/Dry.”

27.    Conway explained that, just 30 minutes earlier, AOS-I Mindaugus Frismantas had

observed the field conditions and determined that everything was wet.

28.    Simos retorted that he “didn’t care” and demanded that Conway declare the conditions

dry. He indicated that the directive had come from the managing deputy commissioner,

Defendant Erin O’Donnell, and emphasized that “Southwest Airlines needs our help!”

29.    After hanging up with Simos, Conway called Frismantas and asked that he again inspect

the airfield and report what he observed to the operations office. A few minutes later, Frismantas

again confirmed, on both the recorded radio and recorded phone lines, that field conditions were

Clear/Wet.

30.    Conway himself then drove runway 22L and taxiway Y to inspect and test the surface

conditions. At speeds ranging from 20 mph to 70 mph, he conducted a series of “vehicle action

braking tests,” which involved his purposely engaging his vehicle’s anti-lock brakes to initiate

lengthy skids. Due to the slick conditions, his vehicle slid over a considerable length of

pavement and crossed two runway intersections. (These tests are accepted practices.) In this way

Conway was able to confirm not only that the entire airfield was wet but that portions, including

runway 22L, were extremely slick with de-icing compound.

31.    Runway sensors throughout the field also indicated that the field was wet at the time.




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32.    Simos called Conway a second time the morning of February 17 demanding that Conway

change his conditions report. “Did you do it?! Did you do it?!,” Simos repeatedly asked.

33.    Back at the office, Conway explained to another manager what Simos was demanding

that he do. The manager responded with words to the effect that Simos was the deputy

commissioner and that Conway must do as he was told.

34.    Conway also called his supervising manager, Dave Kaufman, who was at home at the

time and who likewise advised Conway that he had better obey Simos’s directives or risk being

terminated for insubordination. “How can you be sure,” Kaufman asked him, “that regulations

had not been changed to allow pilots to call runway conditions?”

35.    Conway was extremely reluctant to report wet runways as dry simply as a favor to

Southwest Airlines. He knew that a false report of this nature could be catastrophic, because not

only Southwest Airlines but other airlines would rely on that misinformation, and because he

knew that certain aircraft are prohibited from landing on wet runways and would run the

substantial risk that they would be unable to stop. Conway did not want the City of Chicago to

bear responsibility for misinforming the airlines and inviting tragedy.

36.    Due to the extreme pressure Simos had applied on him, being admonished by managers

to obey orders, and having been told by Simos that the directive came from Defendant

O’Donnell herself, Conway ultimately relented and reported the field condition as Clear/Dry.

37.    The events of February 17, 2018 were the subject of much discussion among Conway

and his managers the following week. Conway couldn’t help but wonder whether Southwest’s

and Simos’s insistence that runway conditions be falsely declared dry (which enabled more and

heavier aircraft to land), constituted an effort to “make up for” the revenue Southwest had lost

the previous week when its aircraft were grounded due to the depletion of de-icing compound.




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38.        At a shift briefing with Kaufman and others that week, Conway reported that the only

significant development was that the field was now Clear/Dry. Kaufman, who had his back to the

door at the time, sarcastically responded “Yes, as ordered!” Simos walked in the door just as

Kaufman was saying this, and then turned to Conway and fumed, “What is your fucking problem

with Clear and Dry?!”

39.        Conway responded that he didn’t have a problem with it and that they were talking about

current runway conditions as part of that day’s briefing, not conditions the previous Saturday.

40.        He did use the occasion, though, to ask Simos what had happened that Saturday. Simos

was not in the mood to answer questions. He tersely reminded Conway that “I am the fucking

deputy commissioner. You will do what you are told and not ask fucking questions!”

41.        Kaufman appeared to defuse the situation somewhat when he told Simos he wanted to

speak with him in his office, and the two men left. When they returned, Simos appeared to have

simmered down a bit and Conway said he too needed to speak with Simos but without his

screaming and storming off. “What you ordered me to do on Saturday was wrong,” Conway said.

“I left my shift frightened that we would have an aircraft slide off the end of the runway.” Simos

too expressed concern, but of a different sort: he remarked that, if something like that were to

happen, he might lose his job and his pension.

42.        Conway, who had confirmed that there were no new regulations or procedures allowing

pilots to call airfield conditions or dictate how they are reported, told Simos he would not

comply with any such order again. “You are making me put my name on that NOTAM,”

Conway said, “and believe it or not, I am looking out for your best interests as well as everyone

else’s.”




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43.     Simos told Conway he understood and assured him he wouldn’t put Conway in that

position again. Conway shook Simos’s hand and believed the situation had been put to rest.

Kaufman and another manager were in the room for this entire exchange and heard Simos’s

assurance.

44.     According to other operations personnel, however, during late February and early March

Simos continued to call in from home and order them to falsify runway conditions, i.e., to change

observed conditions from Clear/Wet to Clear/Dry. On several occasions during this period,

Conway picked up the tower’s “ATCT [air-traffic control tower] ring-down phone” and

responded to queries from the tower about whether the runways were still wet; and if they were,

Conway would confirm that fact.

45.     The inquiries during this period became so frequent that, one day in late February or early

March, Conway asked Kaufman, Joe Ambrosia, and another manager whether they thought it

might be a good idea to take the chief Southwest Airlines pilot out on the field to show him the

Clear/Wet runways that his pilots were asking be called Clear/Dry. He received a collective,

“Yeah; that would be a good idea” from all three men.

46.     On March 17, 2018, Conway picked up a “ring-down” call from the tower supervisor

(initials “DL”) relating that Southwest Airlines pilots were calling on the frequency and stating

that runway 4R was Clear/Dry. The supervisor told Conway that he and others in the tower could

plainly see from their vantage point that the runway was wet and knew that operations personnel

were also calling it wet.

47.     Conway informed the supervisor that this problem had been trending for weeks and

mentioned that he would talk with Southwest Airlines’ chief pilot.




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48.     When Conway called the chief pilot’s office, he ended up reaching Assistant Chief Pilot

Colin Scantlebury. He arranged to take Scantlebury out on the field, driving on Taxiway Y and

Runway 4R and showing him the wet conditions (conditions similar to those he observed the

morning of February 17). It was Runway 4R, Conway told Scantlebury, that his pilots had been

calling dry all morning. The two men observed and talked about the pervasive de-icer fluid on

the pavement. They also discussed an unfortunate 2005 accident in which a plane slid off the

runway, through a fence, and into a neighborhood intersection, killing a child. Conway

mentioned nothing about the earlier ordeal with Simos.

49.     Asked for his opinion of the runway conditions, Scantlebury told Conway that he was

“300% correct” in his assessment that the runway was wet with de-icer. And when Conway

asked if a B737-800 aircraft would have performance issues under those conditions, Scantlebury

responded that his pilots would be able to land a fully loaded B737-800 “all day long” on those

wet runways. Asked why his pilots were calling the runway dry if they didn’t have to,

Scantlebury shrugged his shoulders and said he didn’t know. He did say, though, that he would

speak with Chief Pilot Nick Caulfield and Erin O’Donnell about the matter.

                              Conway begins to face retaliation.

50.     On March 20, 2018, Kaufman called Conway into his office and, in front of AOS-II

Glenn Martin, gave him a verbal reprimand for “Conduct Unbecoming a City Employee” for

“making derogatory statements to a Southwest pilot” about the performance of his co-workers.

51.     Conway explained that the charge was false and made no sense, and recounted what he

and Scantlebury had in fact talked about. He asked to have the union business manager present

but was told it wasn’t a union matter. And when he asked to have Scantlebury come down and

confirm the substance of the conversation, Kaufman told him that wasn’t allowed.




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52.     Later that day, Kaufman confessed that Conway had done nothing to warrant a

reprimand, and related that it was a furious Simos who had called him, demanding that Conway

be punished for bringing up the subject of runway conditions with a pilot.

53.     Kaufman told Conway that Simos had ordered him to prepare the false narrative. He was

“just the messenger” and his “hands were tied,” Kaufman lamented. He urged Conway to simply

accept the verbal reprimand and allow Simos to settle down. The reprimand would be removed

from Conway’s file in 18 months, Kaufman assured him. Kaufman did tell Conway that, per

Simos, he (Conway) was not permitted to speak with any pilots.

54.     A few hours later, Kaufman again called Conway into his office and, in front of O’Neill

and Ambrosia, gave him a “direct order” that he was forbidden from talking to any of his co-

workers about the subject of Clear/Wet versus Clear/Dry runways, explaining that it was “bad

for morale.” Later, Kaufman again confessed that it was Simos who had instructed him to pass

along that comment to Conway.

55.     Joe Ambrosia, too, instructed Conway to stop stirring things up with talk of wet vs. dry

runways. “This issue is much bigger than you,” Ambrosia warned. “It’s bigger than Costas, and

it’s bigger than Erin. It’s bigger than you could ever imagine.”

56.     In the latter part of March 2018, Kaufman, and other managers went around to all the

operations personnel instructing them on the criteria for calling a runway dry, falsely implying

that there was “confusion” about the issue and that they may have been incorrectly calling

runways wet all along. In fact the criteria had always been clear, having been promulgated and

endorsed by the FAA.

57.     Throughout the spring and summer of 2018, Simos continued to demand that operations

personnel falsify airfield conditions.




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58.      In July 2018, the Airport brought on a college intern named Grace McKee to observe

operations. Kaufman told Conway that, again per Simos, he was not to speak to her or take her

out on the runway. Kaufman commented “Isn’t that shitty?” and apologized for Simos’s insulting

order.

59.      It was also at about this time that Simos and O’Donnell began excluding Conway from

meetings in which he used to participate as part of his job responsibilities. They also excluded

him from training and most other activities.

60.      Having observed Simos and O’Donnell turn the same kind of “cold shoulder” to other

employees who they believed had crossed them, Conway knew that the same retaliatory

treatment would continue indefinitely. Only when Simos was on vacation, as he was in August

2018, did Kaufmann once again permit Conway to participate in essential activities. But that

privilege ended immediately upon Simos’s return from vacation.

61.      The situation put Conway under so much stress that his blood pressure became elevated

to dangerous levels. His stress was particularly acute on September 4, 2018, as he realized that

Simos was due to return from vacation that morning and would likely demand that Conway once

again falsify airfield conditions. While driving the field, Conway inadvertently crossed a runway

that was not in use. The crossing caused no harm and posed no risk.

62.      The incident was nevertheless very upsetting to Conway, who had a perfect safety record

for his entire 22-year tenure with the Airport. He reported the incident to Kaufman and was told

he had to re-take his written and driving tests to retain his airfield badge. He passed both tests

with 100% scores. His doctor nevertheless advised him to get evaluated before returning to work.

Conway put in for FMLA leave and returned to work three weeks later.




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63.     Kaufman later informed Conway that, under a new policy, he might be subject to

suspension for what had happened. He added, though, that because it was a comparatively minor

infraction that caused no harm, and because it had a medical explanation, Conway would most

likely just receive a letter of reprimand. But Kaufman also mentioned that it would be up to

Simos to decide the discipline.

64.     There was no such “new policy”; none had ever been communicated to operations

personnel. The putative “policy” was directed at Conway only. Employees accused of similar

infractions never received suspensions. Just that summer, an employee named Carolyn Redmond

crossed an active runway in front of an aircraft that had just landed, yet received no discipline at

all. Historically, suspensions at Midway had been reserved for far more major infractions, such

as unauthorized crossings of active runways that cause a takeoff to abort.

65.     Nevertheless, on October 16, 2018, Simos and O’Donnell indeed imposed a five-day

suspension, which Conway began serving on November 17. Conway learned he could seek to

arbitrate the suspension, which was a completely unprecedented disciplinary measure for such a

minor infraction, and so asked to do so. But he did not receive a response to his request until

after the 30-day-appeal period had expired, and then was denied his right to appeal on timeliness

grounds.

66.     And at about this time, Conway learned from certain co-workers that Simos had

approached them and asked them to prepare denigrating statements about him. They reported

that Simos appeared to get upset when they expressed reluctance to write what Simos instructed

them to say.

67.     All these actions were taken in retaliation for Conway’s having initially refused Simos’s

order to falsify runway conditions and for his having complained to Simos about the matter.




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      Conway reports relevant events to the City’s HR department, to the City’s Office of
        Inspector General, and to the FAA, and then experiences enhanced retaliation.

68.      In mid-September 2018, CDA personnel director Argentene Hrysikos contacted Conway

several times. She wanted to discuss Conway’s FMLA leave and associated paperwork. When

Conway went to O’Hare to meet with her, Hrysikos asked him what was going on at Midway

and what he believed was causing so much stress. Conway described the troublesome events,

including how Simos had insisted that he and others falsify airfield conditions. Hrysikos was

appalled. She exclaimed “Oh my God, he’s going to kill someone!” “It looks like Simos is going

to have to retire much sooner than he had planned!,” Hrysikos added.

69.      Fully appreciating the seriousness of the matters Conway was relating, Hrysikos

instructed Conway to report his concerns to “whatever agency is responsible for airport safety.”

She also told him to report them to the City’s Inspector General’s Office and to the City’s

personnel department downtown. When Conway asked Hrysikos if the two of them could walk

down the hall and speak with CDA Commissioner Jamie Rhee, Hrysikos replied “No, no, no! I’ll

talk to the commissioner. You just do what I told you to do!”

70.      On September 20, 2018, Conway called the FAA and spoke with Birke Rhodes, a

manager of airport safety and operations for the agency’s Great Lakes region. And on October 1,

the FAA interviewed Conway, who provided a timeline of relevant events. The results of the

FAA’s investigation, completed in November 2019, are summarized below.

71.      Also in September 2018, Conway reported relevant events to the Chicago OIG, which

also interviewed Conway. The results of its investigation, completed July 2020, are also

summarized below.

72.      The Airport was abuzz with speculation about who had blown the whistle on its

misdeeds. But according to the personnel director, Simos, O’Donnell, and the entire executive



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staff were already convinced it was Conway. (Despite having instructed Conway to report his

concerns to the various agencies, Hrysikos seemed surprised that he had done so. “Did you go to

the FAA?,” she asked. “Good luck,” she added while patting him on the shoulder.)

73.     In October 2018, the Airport launched an investigation in which employees would be

summoned, one by one, into a meeting for interrogation by the City and its lawyers.

74.     Conway was first up. Not wishing to put the City to unnecessary burden and expense, and

hoping to forestall further retaliation, he immediately acknowledged that it was he who had

reported to the agencies. He expressed apprehension, though, about the fact that Simos typically

waits months before retaliating against an employee for disobedience or a perceived slight. In

this way, Conway related to the group, Simos believes he can plausibly deny any connection

between the two events. For example, after AOS I Laura Aye sued him for sex discrimination,

Simos waited months before fabricating a story, and launching an investigation that falsely

alleged, that Aye had pressured and intimidated Rossi Contractors to hire her son.

75.     Over the course of the next two months, Simos instructed other staff members to follow

and observe Conway as he conducted airfield inspections. The transparent purpose of this

surveillance was to intimidate Conway and to try and acquire grounds to invalidate his

observations for later use against him.

76.     Kaufman and other managers also told Conway that Simos and O’Donnell had instructed

them to report every conversation they had with Conway, and that operations supervisors had

been instructed to do the same.

77.     Conway himself noticed these reports being made in real time. While talking with

Conway, operations supervisors frequently engaged in text-message exchanges with Simos,

appearing to report on the conversations in which they were then engaged with Conway. Based




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on these supervisors’ curt and distant attitude and demeanor toward Conway during and after

these exchanges, Conway reasonably believed the exchanges to be part of the Simos-ordered

surveillance.

78.     Simos took every opportunity to degrade and humiliate Conway. For example, on

October 19, 2018, Conway was busy assisting fire officials re-route traffic around an accident

that had occurred between an aircraft and a Southwest Airlines service truck. Simos pulled up in

his car and, in front of all present, began yelling at Conway to stop talking to people. He then

called manager Veronica Martinez, falsely told her that Conway was “doing absolutely nothing,”

and instructed her to call Conway back to the office and send a subordinate out to help instead.

79.     Staff surveillance of Conway continued throughout the fall of 2018, with a concerted

effort being made to discredit his airfield observations.

80.     On December 8, 2018, operations supervisor Ildephonso Baerga told Conway that, the

day before, a mere 20 minutes after Conway had observed and reported the airfield wet with de-

icer, Simos instructed Frismantas and airport manager Terry Thomas to declare the entire airfield

dry. They did so. But eight hours later, when the next shift arrived, operations personnel reversed

that determination and again declared the field wet with de-icer. No additional de-icing

chemicals had been used on the airfield that day.

81.     Baerga told Conway that he’d better watch his back. He said “the plan” was to make

Conway look crazy and to look like he didn’t know what he was doing.

82.     On December 11, 2018, Defendant O’Donnell called Conway into to her office and, in

front of Kaufman and Ambrosia, began loudly chastising him. She claimed to have proof that, on

at least two occasions, Conway had not in fact driven two main runways before reporting them

wet. She accused him of being “a liar, deceitful and deceptive.” In fact Conway had merely




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followed widely observed protocol, endorsed by the FAA, permitting airfield declarations to be

made based on representative observations, and so informed O’Donnell.

83.      O’Donnell was unwavering. She told Conway she was having his “red stripe” removed

from his badge. This meant that he could no longer drive the “movement areas” of the airfield

(i.e., the runways and taxiways) without an escort. Conway would have only a “yellow stripe,”

permitting him unescorted passage only on the airfield’s “non-movement areas” such as service

roads.

84.      Conway, whose inspections are among the most thorough of anyone in operations, was

singled out for this mistreatment. The discipline O’Donnell imposed was not only unprecedented

but was completely unrelated to Conway’s alleged “offense,” i.e. not driving entire runways

before calling them wet. To Conway’s knowledge, this was the only time in his 23 years of

service that an AOS had been stripped of his or her red stripe (though it has happened one time

since—to a motor-truck driver who committed a runway incursion and who, when offered his

red stripe back, refused it because of the way he had been treated).

85.      At the same December 11, 2018 meeting, O’Donnell also stated she would make sure that

Conway was never the senior person on duty, and that she was going to change other people's

days off to enforce the restriction. She instructed Dave Kaufman and Joe Ambrosia to "Make

sure this happens, gentlemen." Joe Ambrosia had his days off changed so he could “babysit”

Conway.

86.      O’Donnell made sure Conway understood that she was responsible for imposing these

disagreeable measures on him and that she was proud of it. As she left the room, she turned to

Conway and said “I came up here today to let you know that it’s me who’s doing this to you and

not him, not Costas.”




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87.       After the December 11 meeting, Joe Ambrosia forbade Conway from working in the

office. He told Conway to instead stay outside, check fuel trucks, and sit parked at the terminal

ramp to "watch aircraft push back out of the gates."

88.       Over the following several months, Defendant O’Donnell gradually stripped Conway of

all his duties except the most menial, such as counting cars in the Airport’s parking lots,

checking bathrooms for toilet paper and paper towels, and looking for soda spills in the terminal.

These were extremely menial duties that required no training or skill.

89.       On January 1, 2019, Ambrosia informed Conway that his new assignment, which would

be in effect indefinitely, was to check parking lots and garages and to periodically check fuel

trucks.

90.       On January 2, 2019, Conway reported that the truck he normally used had a

malfunctioning seatbelt. Later, the fleet-maintenance manager told him that Simos had been in

his office asking if there was a way to blame Conway for the broken buckle. The manager told

Simos that there was not, and that the issue was very common in Ford Explorers. He later told

Conway that he knew what Simos was up to, confiding that Simos would never come to the

maintenance office just to ask about a minor issue like a seatbelt.

91.       Although Conway had, for his entire career, been part of the staff’s overtime rotation, in

January 2019 he began to be excluded. When he asked why, Kaufman told him that Erin

O’Donnell had decided that, because he lacked a red stripe on his badge—the stripe of which she

herself had stripped him—Conway should be removed from the overtime rotation. But having a

red stripe is not a precondition of overtime eligibility: Conway is aware of other yellow-stripe

operations personnel who have received overtime.




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                    Conway is formally disciplined on trumped-up charges.

92.     Conway believed he understood that, following removal of his red stripe, he was not

permitted to drive the “movement areas” of the airfield without an escort. But managers

regularly required him to drive from the service road to movement areas such as “the melter.” So

Conway sought clarification from Kaufman on the matter. Kaufman confirmed in a recorded

phone conversation (all conversations with the office are recorded) that Conway was allowed to

drive in these areas if he had an escort and if his duties required it.

93.     Despite Kaufman’s recorded assurances, Conway got in trouble for doing exactly what he

was told to do. On February 1, 2019, for example, airport manager Veronica Martinez instructed

Conway to “get in line” with equipment in front of her while the two crossed taxiways and

runways. (Conway was the senior AOS on duty.) But afterward she told Conway he was in

trouble for being on the airfield.

94.      On February 22, 2019, O’Donnell issued a pre-disciplinary notice to Conway for his

having, on two occasions, driven the airfield without her express permission. On each listed

occasion, Martinez had expressly instructed Conway to do what he did. Despite purporting to

rely on the recorded conversation between Conway and Kaufman, O’Donnell in her notice flatly

contradicted Kaufman’s assurances that Conway could drive on certain portions of the airfield if

his duties required it and he had an escort.

95.     The notice also falsely alleged that, on one of the occasions at issue, Conway “used

threatening and intimidation factors to force an MTD [motor truck driver] to perform the escort

of his vehicle.” The allegedly threatened driver, whose union became involved in the incident,

emphatically denied that Conway did any such thing.




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96.      On February 25, 2019, Conway updated his report to the FAA to include evidence

(including runway photographs and witness contact information) that Defendant Simos

intentionally altered the Airport’s field conditions on December 7, 2018.

97.      On March 15, 2019, Conway received another pre-disciplinary notice concerning the

airfield inspection he had performed on December 4, 2018. The notice alleged that Conway had

violated unspecified federal, state, city, and Aviation-Department regulations. He had not.

98.      Although disciplinary hearings were initially scheduled for the violations of which

Conway was notified on February 22 and March 15, 2019, each was cancelled or postponed.

99.      The violations Conway was alleged to have committed shifted with each pre-disciplinary

notice, with earlier ones falling by the wayside and others fabricated to take their place.

100.     On July 9, 2019, O’Donnell issued yet another pre-disciplinary meeting notice, revamped

to include only those accusations O’Donnell believed could be made to “stick.” Gone was any

mention of how, on December 4, 2018, Conway had allegedly reported airfield conditions as

“wet” without driving all surface areas. (In fact Conway had driven runway 31C, from which he

could observe that all runways were wet, a practice the FAA endorses.) Also gone was any

mention of Conway’s alleged “threats” to a motor-truck driver (who refused to cooperate in the

Airport’s sham investigation). Instead the notice identified nine separate “policy and procedure

violations” Conway was accused of committing. Each was trumped up and completely false.

101.     Conway received a 15-day suspension, which he served from July 30 to August 13, 2019.

The hearing officer, Mike Landers, advised Conway not to appeal because it would do no good

and because the more he pursued things legally, the worse things would get for him. Landers told

Conway that, at the meeting to decide Conway’s punishment, both O’Donnell and Simos were

demanding that he be terminated, adding that they did not care what OSHA or the City Inspector




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General ultimately decided to do. But “Calmer heads prevailed, thank God,” according to

Landers, and everyone settled on a suspension instead. But future infractions, Landers related,

would result in a 30-day suspension, followed by termination.

Retaliation against Conway grows worse in late 2019 and early 2020, and includes reversal
 of a scheduled step increase in his pay and being prevented from testing for a promotion
                     for which he would have been a strong contender.

102.     Conway continued to experience serious retaliation throughout 2019 and into 2020.

Among the retaliatory acts that occurred early in this period were the following:

   •     Although a late-2018 policy required all AOSs to undergo a recertification process, and

         although all other AOSs completed the process in April 2019, Conway was never told

         about the process. When he inquired with the personnel department, they refused to talk

         to him about it;

   •     Similarly, Conway was the only AOS not notified about, and consequently the only AOS

         who did not undergo, the required “Notice to Airman” (NOTAM) certification and

         training on the new vehicle laptops;

   •     Joe Ambrosia told Conway that he was required to undergo “special” Part 139/303

         training (referring to the relevant Code of Federal Regulations provisions). But when

         Ambrosia, on his day off, learned that Conway was in the office viewing one of the

         required training videos, he went to the office and booted Conway out, telling him to go

         check parking lots;

   •     At the same time, Ambrosia, in a fit of pique, also arbitrarily stripped Conway of the

         responsibility to check fuel trucks;

   •     At the end of June 2019, when it came time to renew Conway’s already-diminished

         airfield badge, the Airport further reduced his airfield privileges by removing escort



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         privileges from his yellow stripe. This, to Conway’s knowledge, made him the only

         yellow-stripe Airport employee unable to escort contractors, emergency vehicles, etc.,

         through security and onto the airfield’s service roads and other non-movement areas.

   •     At O’Donnell’s July 30, 2019 “retirement” party, Veronica Martinez ordered Conway out

         of the building and off the airfield before the party started. She told him to stay in the

         terminal and not return until it was time to punch out. Conway was humiliated.

103.     At a September 11, 2019 meeting among Simos, Ambrosia, Martinez, Kaufman, and

Terry Thomas, Simos told the attendees that all further discipline against Conway would be

handled by Mike Landers. He also told Kaufman that he was not to be involved in any way and,

indeed, that he was not under any circumstances to communicate with Conway.

104.     Upon checking his September 22, 2019 paystub, Conway realized that he had not been

receiving either his scheduled 2019 step increase or his 2019 cost-of-living allowance. Payroll

clerk Cesar Pinto told Conway that “something” in Conway’s file had been deliberately erased

and that he had never seen anything like it before. Simos had taken possession of Conway’s file

from Kaufman in January 2019. Kaufman suspected that Simos was trying to deny or reverse

Conway’s raise. But Kaufman was not told what was happening and was ordered to stay out of

the matter.

105.     Conway later discovered that Simos had reversed the routine step increase he was

scheduled to receive in 2019, a personnel action that is almost never taken (even for employees

under suspension) and that requires a meeting and a performance improvement plan (PIP)

designed to give the employee another opportunity to earn the increase.

106.     When Bob Chianelli of the union inquired on Conway’s behalf, the City’s personnel

department lied and told him that the required meeting had taken place and that Conway was




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indeed under a PIP. Chianelli exposed the lie by confronting the department with the lack of any

documentation of any PIP or of the required six-month follow-up.

107.     Conway was ultimately—in January 2020—reimbursed for the missed pay increase. But

because the reimbursement was considered a “bonus” and not part of his regular pay, Conway

was told, it was subject to a “special tax” of 45%.

108.     In early November 2019, the Airport advertised an opening for the position of assistant

chief operations supervisor, a promotion in which Conway was very interested and for which his

23 years of relevant job experience made him eminently qualified.

109.     Conway’s initial application to test for the position was rejected due to an unexplained,

purported problem with his employee number. A hiring recruiter later told him that his number

had been entered correctly after all, but that he had not been invited to take the test and that his

application was still “under consideration.” All interested persons except Conway were allowed

to take the test on February 5, 2020.

110.     After the union pressed the issue, Conway was finally able to take the test on March 4.

But because he had not been allowed in the office, he was not able to view the training videos

and thus was at a distinct disadvantage. (He recalled how, the previous fall, Joe Ambrosia had

punished him for trying to do so.) And when he asked if he could take the videos home to view,

multiple supervisors refused even to answer him, advising only that they were not allowed to

speak to him.

111.     Well into 2020, Conway continued to be followed and surveilled as he performed his

duties. On March 13, after finishing his parking-lot “inspection,” Conway parked his car in a

City lot and, while on break (which he was allowed), walked across the street to buy a cup of

coffee. But upon his return Veronica Martinez radioed him for a “meet” and concocted a story




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that someone had called security to report a suspicious person walking up and down 55th Street.

Conway checked with security and learned that there had been no such call. When pressed,

Martinez confessed that there had been no security report and that Simos was still ordering other

employees to tail Conway and report back to him about his whereabouts and activities.

112.     On March 16, 2020, the Airport offered to return Conway’s red stripe in exchange for his

dropping the appeal of his 15-day suspension. The extortionate offer was unacceptable to

Conway, who had done nothing wrong. He was also reluctant to waive his appeal rights because

it was his understanding that, if allowed to stand, the suspension may render him ineligible for

any promotions.

                                        The OIG’s report

113.     In response to Conway’s September 2018 report, OIG launched Investigation No. 18-

0738, the results of which were published on July 16, 2020 in the office’s second-quarter 2020

report. Although the report does not identify the actors by name, various media outlets report that

undisclosed sources at Chicago City Hall have confirmed their identities, which therefore can be

freely and accurately reported here.

114.     As an indication of the gravity of the violations uncovered, the Midway fiasco was one of

only two investigations (among the hundreds addressed in the report) highlighted in OIG’s one-

page press release. As summarized there, the investigation

                established that a CDA deputy commissioner at Midway
                International Airport [Simos] disregarded crucial federal safety
                protocols and the City’s Personnel Rules. Specifically, the deputy
                commissioner ordered a change to the reported airfield conditions
                at MDW from “wet” to “dry,” following a call from a private
                airline requesting that the airfield conditions be changed due to
                financial motivation. OIG recommended discharge and placement
                on DHR’s ineligible for rehire list. The deputy commissioner
                subsequently retired after CDA received OIG’s report. In response,




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                CDA referred the deputy commissioner for placement on the
                ineligible for rehire list.

115.     Simos, according to the report, “acknowledged that the airline [Southwest Airlines]

official had a financial motivation for requesting the change in status [of the airfield conditions],

because the airline could not include as many passengers on planes landing on a wet airfield at

MDW as are permitted for dry conditions, and the airline would therefore lose money if the

airfield conditions were not altered.”

116.     “Further,” the report continued, “during the investigation into this incident, the deputy

commissioner [Simos] lied to OIG by falsely claiming to have verified the airfield conditions by

contacting a different AOS. However, phone records and recorded phone calls at CDA revealed

that the deputy commissioner did not speak with a different AOS prior to ordering the AOS

[Conway] to change the conditions.”

117.     The OIG recommended that Simos be terminated and placed on the City’s “ineligible for

rehire” list.

118.     Simos elected to “resign” rather than face the OIG-ordered termination. His last day was

April 22, 2020.

                                         The FAA’s findings

119.     Conway’s September 20, 2018 report to the FAA spawned an intensive investigation of

the Airport, Case Nos. 2018GL800103 and EWB19510. Many of the safety-related issues

Conway raised also informed the FAA’s conduct of its annual airfield-certification process,

which took place in June and July 2019 and which uncovered numerous serious deficiencies with

Airport operations. Defendant O’Donnell “retired” immediately after the conclusion of that

process.




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120.      Some 14 months after Conway blew the whistle, the FAA issued its findings. On

December 10, 2019, it notified Conway that “The Great Lakes Regional Airports Division has

completed their investigation of the air carrier safety issues in Case #EWB19510. The

investigation substantiated that a violation of an order, regulation or standard of the FAA

related to air carrier safety occurred. Accordingly, the FAA is taking appropriate corrective

and/or enforcement action. Our office will monitor these actions until complete.” (Emphasis

added.)

121.      The FAA had already prepared a November 24, 2019 formal report of its findings. After

interviewing 16 Airport employees (some of them several times because of pervasive

inconsistencies) and three Southwest Airlines employees, the FAA confirmed Conway’s account

of the February 2018 events in its entirety.

122.      The report began by noting how important the issues were that Conway had brought to

the FAA’s attention. “Because of the seriousness of the allegation, FAA also referred this case to

the DOT Office of Inspector General (OIG).” The FAA also noted that the City of Chicago

Inspector General was investigating the matter, “in particular, the whistleblower claim of

retaliation against Michael Conway.”

123.      Addressing Conway’s allegation that “Airfield Operations Deputy Commissioner Costas

Simos directed AOS to alter or change Field Condition Reports FICONS),” the “FAA

determined that it is likely that airport management directed staff to change airfield conditions

without on-site airfield verification on February 17, 2018.” As a sanction, the FAA announced

that “MDW airport will continue to be on a heightened level of FAA surveillance inspection

oversight to ensure compliance with airport condition assessment and reporting.”

124.      The FAA further reported that “[s]ome of the CDA employees interviewed




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communicated inaccurate airfield condition reporting at MDW, including practices that overrode

airfield assessments from AOS staff in addition to changing airfield condition reports without

onsite verification.”

125.     These practices were particularly problematic at Midway Airport. “Accuracy of runway

condition reporting at MDW is particularly essential due to the shorter runway lengths. The

difference between reporting 1/4” of snow and 1/8” could determine whether certain airlines or

aircraft can operate out of MDW.”

126.     Disturbingly, the inaccuracies appear to have been the product of the Airport’s culture of

intimidation and retaliation: “some of the employees stated that management created a work

environment that discouraged staff from openly communicating and addressing safety issues,

including decision-making involving airfield condition reporting.”

127.     The FAA also communicated its findings in a strongly worded letter to the Chicago

Department of Aviation. It was sharply critical of the Airport’s defensiveness and lack of

transparency during the investigation. The Airport, the FAA noted, “did not consistently follow

the spirit of full cooperation and transparency …” While “MDW management put significant

effort into defending its personnel and procedures,” “it was not apparent to the FAA that a

similar level of effort was going into investigating whether the concerns brought forward in the

employee’s complaint were valid.”

128.     The Airport also misled the FAA. After requesting that investigative interviews be

delayed to accommodate the schedule of an attorney it said would be representing the involved

Airport employees, the Airport ultimately brought an attorney who confessed he would be

representing the City and not any employees. The attorney, consequently, was not invited into

the investigative interviews.




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129.     According to the FAA, the Airport’s “somewhat uncooperative stance continued

throughout the investigation, with slow turnaround times on some requests and, at times,

contentious exchanges between CDA and FAA personnel.” “The FAA has repeatedly asked the

CDA to share any details from its investigation, yet the CDA has not provided this information.”

130.     Turning to the substance of Conway’s allegations, the FAA noted that “numerous

employee interviews” showed “instances where a small group of individuals controlled the

airfield condition reporting, [which] was not in line with an open and transparent operation.” “It

is necessary, and it is the FAA’s expectation, that MDW has numerous trained individuals who

are capable of independently assessing and independently reporting airfield conditions. …

Airfield condition reporting should not reside at the level of a Deputy Commissioner.” Defendant

Simos, in other words, should not be able to overrule the educated, considered judgment of an

on-site specialist trained in evaluating and reporting airfield conditions.

131.     Although Conway possesses only a redacted version of the FAA’s letter, from which

Airport employee names have been expurgated, the document nevertheless confirms Conway’s

account of the events of February 17, 2018. It confirms, in particular, that on that date

“Southwest Airlines request[ed that] the reported wet runways be re-evaluated to ensure that they

were not dry.” (The context of the relevant paragraphs makes clear that “intense discussions

occurred” on the subject between Conway and Simos.) “After several exchanges,” the letter

continues, Conway “changed the airfield conditions from wet to dry at the direction of” Simos

“despite [Simos’s] not being present on the airfield at the time.” It was “the FAA’s assessment,

based on its investigation,” that Simos’s “claim to have called an onsite [observer] appears to be

untrue …” and that “airfield conditions at MDW were incorrectly changed from wet to dry

without onsite field verification.”




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132.     As noted above, the FAA was particularly concerned with the Airport’s culture of

intimidation and retaliation, noting its “potential negative effect on safety.” It observed that “the

vast majority of employees the FAA interviewed requested anonymity out of a fear of

retaliation.” And it was significant that “the CDA employee who originally contacted the FAA

[i.e., Conway] felt it was necessary to raise the underlying concerns with the FAA only and not

also with MDW management.” “Employees,” the FAA admonished, “must always have an

opportunity to convey safety concerns without fear of retaliation.”

                                              CLAIM 1

FIRST AND FOURTEENTH AMENDMENT RETALIATION UNDER 42 U.S.C. § 1983 (AGAINST ALL
   DEFENDANTS, AND AGAINST BOTH INDIVIDUAL DEFENDANTS IN THEIR OFFICIAL AND
                            PERSONAL CAPACITIES)

133.     Conway incorporates all previous allegations.

134.     Conway is a public employee.

135.     Conway engaged in various forms of protected speech and conduct as described above.

136.     Neither Conway’s official job description nor the duties he customarily performs involve

his reporting to or otherwise communicating with the FAA, the OIG, or other regulatory

authorities about management improprieties, irregularities, violations, or illegal conduct.

137.     Conway’s speech and conduct—in particular his initial refusal to misrepresent airfield

conditions and his subsequent reports to the FAA and the Chicago OIG—concerned critical

matters of public safety and concern. In engaging in such speech and conduct, Conway was

acting not in his capacity as an employee of the Chicago Department of Aviation but rather in his

capacity as a concerned private citizen.

138.     It has been clearly established law for decades that public employees have the right to

communicate about matters of public concern and that public officials may not retaliate against

people, including public employees, for protected speech. All public officials are charged with


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knowing that public employees may not be disciplined for engaging in protected speech on

matters of public concern. This prohibition applies despite any potentially or arguably contrary

management policies or directives, or policies or directives requiring “confidentiality” or

“loyalty,” as such policies and directives cannot supersede employees’ constitutional rights.

139.     Both individually and in concert with one another, Defendants took adverse actions

against Conway in retaliation for his having engaged in protected speech and conduct, and in an

effort to deter him and others from engaging in such protected speech and conduct in the future.

140.     Defendants’ initial retaliatory acts were temporally proximate to the protected speech and

conduct that prompted them. Defendants have continued to engage in similar and more severe

retaliatory acts, also prompted by Conway’s temporally proximate, protected speech and

conduct, through the present time.

141.     The City and individual Defendants all had actual or constructive knowledge of the

retaliatory acts and omissions in which the others had engaged, and yet each condoned, tolerated,

encouraged, and/or failed to prevent or abate such acts and omissions and/or has responded to

Conway’s complaints so inadequately as to manifest indifference or unreasonableness under the

circumstances.

142.     Defendants’ retaliation included, but is not limited to, the acts described earlier in this

Complaint, and continues to this day.

143.     The retaliation is and has been sufficiently severe to dissuade a reasonable Airport

employee such as Conway, or any reasonable person, from raising or reporting safety concerns

or engaging in other protected activity.

144.     Such adverse actions are and were motivated by Defendants’ knowledge or belief that

Conway had engaged, and continues to engage, in protected speech and/or conduct.




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145.     The retaliatory actions are and were of such a magnitude, and occurred and continue to

occur with such regularity, as to deter a person of ordinary firmness from engaging in similar

protected speech or conduct.

146.     Defendants Simos and O’Donnell held such ranks and titles, or were otherwise

sufficiently empowered City officials, that their acts and omissions constitute the customs,

policies, and practices of the City.

147.     The City’s customs, policies, and practices are also exemplified by other acts of

retaliation similar to those Conway has endured, including those directed at Laura Aye, a

diminutive, mild-mannered AOS I who, after suing Simos for sex discrimination, was falsely

accused by him of pressuring and intimidating Rossi Contractors to hire her son. They are also

exemplified by the retaliation experienced by Courtney Harris, a facilities manager who was

subjected to mistreatment so serious she was forced to transfer to O’Hare Airport after

complaining about a certain contractor who happened to be among Simos’s and O’Donnell’s

favorites.

148.     Conway complained about the retaliation to one or both individual Defendants, neither of

whom took any action to abate it, and each of whom—when they were not actually instigating

it—instead tolerated, ratified, encouraged, and/or exacerbated it. As such, these City officials

approved, endorsed, and adopted the custom, policy, and practice of retaliating against Conway

and others. The retaliation in this way became the City’s custom, practice, and policy.

149.     As a direct and proximate result of this unlawful campaign of retaliation, which the City

endorsed and adopted as its own unwritten municipal policy, Conway has suffered and will

continue to suffer economic damages for which Defendants are liable, including but not limited

to loss of promotion and overtime opportunities, with their accompanying increases in salary,




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wages, benefits, and other privileges of employment; as well as non-economic damages,

including emotional distress, embarrassment, humiliation, and loss of personal and professional

reputation.

150.     In acting as described in this Complaint, the individual Defendants intentionally,

maliciously, wantonly, recklessly, and maliciously violated the First and Fourteenth

Amendments of the United States Constitution, and thus are liable for punitive or exemplary

damages and for such additional, substantial sanction as will deter them and other similarly

situated officials from engaging in such behavior.

151.     In addition to Conway’s economic and non-economic compensatory damages,

Defendants are liable for Conway’s attorneys’ fees and costs, witness fees, expert fees, and any

additional legal and/or equitable relief that this Court deems warranted and appropriate.

                                    CLAIM 2
VIOLATION OF THE ILLINOIS WHISTLEBLOWER ACT, 740 ILCS/10, /15(b), /20, /20.1, AND /30
   (AGAINST ALL DEFENDANTS, AND AGAINST BOTH INDIVIDUAL DEFENDANTS IN THEIR
                       OFFICIAL AND PERSONAL CAPACITIES)

152.     Conway incorporates all previous allegations.

153.     Each Defendant is an “employer,” and Conway is an “employee,” within the meaning of

the Illinois Whistleblower Act, 740 ILCS 174/5.

154.     The Federal Aviation Administration and Chicago’s Office of Inspector General are

government and/or law-enforcement agencies within the meaning of the Illinois Whistleblower

Act, 740 ILCS 174/15(b).

155.     When in September 2018 Conway reported, to the Federal Aviation Administration and

Chicago’s Office of Inspector General, that Defendant Simos had ordered him to falsify airfield

conditions, Conway had reasonable cause to believe that he was disclosing, and in fact was

disclosing, violations of state and/or federal laws, rules, and/or regulations.



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156.     In stripping Conway of various job duties and responsibilities and of various security

clearances and privileges, in ostracizing him, in denying him step and cost-of-living increases, in

denying him various training, testing, promotion, and overtime opportunities, in imposing

suspensions and other forms of discipline, and in otherwise behaving and conducting themselves

as described in this Complaint, Defendants, in contravention of 740 ILCS 174/15(b), retaliated

against Conway for disclosing violations, or what Conway reasonably believed to be violations,

of state and/or federal laws, rules, and/or regulations.

157.     In refusing to falsify airfield conditions as ordered by Simos, Conway refused to

participate in an activity that would result in violation of state and/or federal laws, rules, and/or

regulations.

158.     In stripping Conway of various job duties and responsibilities and of various security

clearances and privileges, in ostracizing him, in denying him step and cost-of-living increases, in

denying him various training, testing, promotion, and overtime opportunities, in imposing

suspensions and other forms of discipline, and in otherwise behaving and conducting themselves

as described in this Complaint, Defendants, in contravention of 740 ILCS 174/20, retaliated

against Conway for refusing to participate in an activity that would result in violation of state

and/or federal laws, rules, and/or regulations.

159.     When in September 2018 Conway reported, to the Federal Aviation Administration and

Chicago’s Office of Inspector General, that Defendant Simos had ordered him to falsify airfield

conditions, he was disclosing or attempting to disclose public corruption or wrongdoing.

160.     When they stripped Conway of various job duties and responsibilities and of various

security clearances and privileges, ostracized him, denied him step and cost-of-living increases,

denied him various training, testing, promotion, and overtime opportunities, imposed




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suspensions and other forms of discipline, and otherwise behaved as described in this Complaint,

both “within and without the workplace,” and did so because Conway had disclosed or attempted

to disclose public corruption or wrongdoing, Defendants, in contravention of 740 ILCS 174/20.1,

acted in a manner materially adverse to Conway, who is and was a reasonable employee.

161.     As a direct and proximate result of Defendants’ violations of 740 ILCS 174/15(b),

174/20, and 174/20.1, Conway has suffered and will continue to suffer economic and non-

economic damages, including but not limited to loss of promotion opportunities, loss of overtime

opportunities, and related economic benefits, as well as emotional distress, embarrassment,

humiliation, and loss of personal and professional reputation.

162.     Conway is entitled, under 740 ILCS 174/30, to bring a civil action against Defendants to

recover “all relief necessary to make [him] whole …” as a result of Defendants’ violations of 740

ILCS 174/15(b), 174/20, and 174/20.1, including the foregoing damages, litigation costs, and

attorneys’ fees.

                                        PRAYER FOR RELIEF

For the reasons stated above, Conway respectfully requests the following relief from the Court:

         A.     Declare that Defendants’ acts and conduct constitute violations of the First and
                Fourteenth Amendments to the United States Constitution, as well as of 42 U.S.C.
                § 1983 and 740 ILCS 174/15(b), /20, and /20.1;

         B.     Declare that the City is vicariously liable, and/or is subject to Monell liability, for
                its management-level employees’ acts described above based on the City’s
                custom, policy, and practice of retaliating, permitting retaliation, endorsing
                retaliation, and/or failing to remedy retaliation against Conway and others;

         C.     Enter judgment in Conway’s favor on all claims for relief;




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  D.     Enjoin Defendants from continuing to retaliate against Conway by encouraging,
         tolerating, and failing to abate the ongoing retaliation and by engaging in
         additional acts of retaliation;

  E.     Declare that Defendants’ acts and conduct constitute violations of the First and
         Fourteenth Amendments to the United States Constitution, as well as of 42 U.S.C.
         § 1983 and 740 ILCS 174/15(b), /20, and /20.1;

  F.     Declare that the City is vicariously liable, and/or is subject to Monell liability, for
         its management-level employees’ acts described above based on the City’s
         custom, policy, and practice of retaliating, permitting retaliation, endorsing
         retaliation, and/or failing to remedy retaliation against Conway and others;

  G.     Enter judgment in Conway’s favor on all claims for relief;

  H.     Enjoin Defendants from continuing to retaliate against Conway by encouraging,
         tolerating, and failing to abate the ongoing retaliation and by engaging in
         additional acts of retaliation;

  I.     Award full compensatory economic and non-economic damages including, but
         not limited to, damages for mental anguish, emotional distress, humiliation,
         embarrassment, and loss of reputation that Conway has suffered and is reasonably
         certain to suffer in the future;

  J.     Award punitive and exemplary damages for the individual Defendants’ egregious,
         willful, and malicious conduct;

  K.     Award pre- and post-judgment interest at the highest lawful rate;

  L.     Award Conway his reasonable attorneys’ fees (including expert fees) and all other
         costs of suit;

  M.     Award all other relief in law or equity, including declaratory and injunctive relief,
         to which Conway is entitled and that the Court deems equitable, just, or proper.


                                    JURY DEMAND

  Conway demands a trial by jury on all issues within this Complaint.




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                                             Respectfully submitted,

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